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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
Plaintiff,
VS.

ROBERT PADILLA, a.k.a. “Fat Head,”
ROSE ANN ROMERO,

JOHNATHAN VIGIL, a.k.a, “Lil John,”
ROBERT HOCKMAN, a.k.a. “Tony,”
MARCOS RUIZ, a.k.a. “Mark,”

LUIS SANCHEZ, a.k.a. “Payaso,”
ASHLEY ROMERO,

TOMAS SANCHEZ, a.k.a. “T.J,,”
AMANDA SILVA,

SERGIO VALDEZ,

GENEVIVE ATENCIO, and

JANAYA ATENCIO,

Defendants,

NO,: CR-19-CR-3113-JB

_ SCHEDULING ORDER

The parties’ request that the Court impose the following deadlines:

 

 

 

 

2/28/2020 Completion of Rule 16 discovery by government (except for the government’s
continuing duty to disclose).

5/29/2020 Reciprocal Rule 16 discovery by defendants (except for the defendants’
continuing duty to disclose); Fed. R. Crim. P. 16 discovery motions.

6/12/2020 Responses to Fed. R. Crim. P. 16 discovery motions,

6/26/2020 Replies to responses to Fed. R. Crim. P. 16 discovery motions.

 

7/2/2020 at Hearing on Discovery Motions, if needed.

8:30a

 

 

7/10/2020 Notices of defenses pursuant to Fed. R. Crim. P. 12.1-12.3.

 

 

 

 
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7/24/2020

Fed. R. Crim. P. 12 pretrial motions; Rule 14 motions to sever; Responses to
notices of defenses; Motion for James and Co-conspirator statement
disclosure,'

 

8/7/2020

Responses to Fed, R. Crim. P. 12 pretrial; Responses to Rule 14 motions to
sever; Responses to James and co-conspirator statement disclosures, subject to
the 10-day joinder agreement.

 

8/21/2020

Replies to responses to Rule 12 pretrial motions, to Rule 14 motions to sever,
and to James and co-conspirator statement disclosures,

 

8/24-25/2020

Hearing on Pretrial Motions, if needed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

at 8:30 am

9/4/2020 Government’s expert witness notices and reports.

9/18/2020 Defense expert witness notices and reports, subject to the 10-day joinder
agreement.

10/2/2020 Objections to expert witness notices and Daubert Motions, subject to the 10-
day joinder agreement,

10/16/2020 Replies to expert witness objections and Responses to Daubert Motions

10/30/2020 Replies to Daubert motions.

11/2-3/2020 at | Hearing on Daubert motions, if needed.

8:30 am

11/30/2020 Motions in Limine, Fed. R. Evid 404(b), subject to the 10-day joinder
apreement,

12/14/2020 Responses to motions in limine & 404(b).

12/28/2020 Replies to motions in limine & 404(b).

1/4/2021 at Hearing on motions in imine & 404(b), if any.

8:30 am

1/25/2021 Disclosure of exhibit and witness lists; Jencks Act disclosures.

2/1/2021 Exhibit and witness binders delivered to the Court.

2/8/2021 Objections to exhibit and witness lists.

3/8/2021 Jury Instructions; proposed voir dire; and stipulations.

 

 

' The parties agree that all defendants should have 10 days from the date of filing of a
motion by any defendant to decide whether to join in that motion. Ifa defendant decides to join
in another defendant=s motion, the joining defendant should file a notice of jomder within 10
days of the filing of the motion to be joined, including in the notice of joinder any factual or legal
argument that is specific to the joining defendant and specifying the relief sought by the joining
defendant. The government should be allowed to file one omnibus response to motions that have
been joined by other defendants, The government=s time for responding should begin to run on
the tenth day after the original motion is filed.

 

 
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3/22/2021 Objections to jury instructions and proposed voir dire,

4/5/2021 at | Pre-Trial Conference

8:30a

4/19/2021 Jury Selection/Trial at 9:00 a.m., Federal Courthouse, Albuquerque, New

Mexico.

 

The court further orders that the United States shall continually make available

discovery on an ongoing basis and make available to the defendants by the time required

by the applicable Jaw all material for which disclosure is mandated by Giglio v. United

States, 405 U.S. 10 (1972) and the Jencks Act, 18 U.S.C. § 3500, unless disclosure is

otherwise required herein.

The court further orders, pursuant to 18 U.S.C. § 3161(h)(7)(B){i), that the time

between the entry of this Order and the trial date is excluded for the purposes of the Speedy

Trial Act computation.

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TED STATES PISSRICT JUDGE

 

 

 

 
